Case 3:01-cv-02103-L          Document 64        Filed 11/27/24      Page 1 of 3    PageID 710



                             UNITED STATES DISTRICT COURT
                              NOTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

DAVID LEONARD WOOD,                              §
                                                 §
                       Petitioner,               §
                                                 §
v.                                               §    Civil Action No. 3:01-CV-2103-L
                                                 §
BOBBY LUMPKIN, Director,                         §
                                                 §
                       Respondent.               §

                                             ORDER

       Before the court is the “Unopposed Motion For Appointment of CJA Co-Counsel”

(“Motion”) (Doc. 59), filed October 11, 2024, by Petitioner David Leonard Wood. Although

unopposed, the court denies the Motion (Doc. 59) for the reasons that follow.

       Mr. Wood is currently scheduled for execution on March 13, 2025. In the Motion filed on

Petitioner’s behalf, the Federal Public Defender for the Northern District of Texas (“FPD”), who

was appointed as substitute counsel several months ago (Doc. 56), requests that the court appoint

Gregory W. Wiercioch as additional federal habeas counsel. Mr. Wiercioch is the attorney who

represented Mr. Wood in a variety of state court proceedings for over fifteen years and who

appeared at least once on his behalf on a pro bono basis before the Fifth Circuit. The FPD requests

that the court appoint Mr. Wiercioch as additional counsel for the purpose of having him file a

state clemency petition, a subsequent state habeas corpus application, and a motion requesting

leave from the Fifth Circuit to file a successive federal habeas corpus petition.

       This court denied Mr. Wood’s federal habeas relief almost two decades ago. See Wood v.

Dretke, No. 3:01-CV-2103, 2006 WL 1519969 (N.D. Tex. June 2, 2006). Subsequently, the Fifth

Circuit denied Mr. Wood a Certificate of Appealability. See Wood v. Quarterman, 503 F.3d 408
Order – Page 1
Case 3:01-cv-02103-L          Document 64        Filed 11/27/24        Page 2 of 3      PageID 711



(5th Cir. 2007), cert. denied, 552 U.S. 1314 (2008). In 2016, the Fifth Circuit also denied a motion

filed on behalf of Mr. Wood by Mr. Wiercioch for authorization to file a successive federal habeas

petition. See In re Wood, 648 F. App’x 388 (5th Cir. May 12, 2016).

       There are a number of problems with appointing Mr. Wiercioch as additional counsel for

Petitioner at this juncture. First, Mr. Wood has been represented by competent, non-conflicted

federal habeas counsel (the FPD) for several months, and there is still a considerable amount of

time before Mr. Wood’s scheduled execution within which the FPD can file a state clemency

petition, a subsequent state habeas application, or a motion for leave to file a successive federal

habeas petition on Mr. Wood’s behalf. Second, the FPD previously represented to this court that

it was fully capable of representing Mr. Wood, and, when it sought appointment to represent Mr.

Wood, there was no suggestion that the participation of Mr. Wiercioch or any other outside counsel

would be needed. Third, because Mr. Wiercioch represented Petitioner for many years in state

habeas proceedings, as well as a prior federal habeas proceeding before the Fifth Circuit, the

potential for conflicts of interest could arise if Mr. Wiercioch filed pleadings in this or any federal

court asserting new claims on behalf of Wood.

       Any new federal habeas claims that Mr. Wiercioch might file on behalf of Wood would

also potentially be barred by limitations or procedural default principles, in part because they were

not previously raised in the state and federal habeas proceedings in which Mr. Wiercioch

represented Mr. Wood. See Speer v. Stephens, 781 F.3d 784, 785-87 (5th Cir. 2015) (recognizing

the potential for a conflict of interest when the same attorney represented a federal habeas

petitioner in both the state habeas and federal habeas proceedings and appointment of additional

counsel was for the limited purpose of investigating whether Speer had additional claims that

should have been brought in a prior federal habeas proceeding).

Order – Page 2
Case 3:01-cv-02103-L             Document 64        Filed 11/27/24      Page 3 of 3      PageID 712



           “Capital habeas petitioners have a statutory right to conflict-free counsel.” Clark v. Davis,

850 F.3d 770, 779 (5th Cir. 2017) (footnote and citations omitted). The FPD, however, is fully

capable of furnishing Mr. Wood with conflict-free representation in this case and determining

whether he has any additional claims that should have been previously brought. As such, the

“interests of justice” do not require appointment of potentially conflicted additional federal habeas

counsel at this time. See Martel v. Clair, 565 U.S. 648, 657-62 (2012). There is also no indication

that Mr. Wood has waived any potential conflict that might arise from Mr. Wiercioch’s

representation of him in prior state or federal habeas proceedings.

           Moreover, Mr. Wood is currently represented by fully capable and non-conflicted federal

habeas counsel. Appointing Mr. Wiercioch as co-counsel for Mr. Wood at this time would likely

delay the disposition of any additional state or federal habeas pleadings that Mr. Wood might wish

to file to challenge his conviction or sentence. It would also likely delay his execution for no other

reason than the legal confusion and possible conflict of interest that could arise from having Mr.

Wood’s state habeas counsel represent him in a subsequent federal habeas proceeding. See, e.g.,

In re Johnson, 935 F.3d 284, 287-88 (5th Cir. 2019) (case involving conflict that arose when state

habeas counsel attempted to continue his representation of a state inmate seeking federal habeas

relief).

           Accordingly, for all of these reasons, the court denies Petitioner’s Motion (Doc. 59).

           It is so ordered this 27th day of November, 2024.



                                                         _________________________________
                                                         Sam A. Lindsay
                                                         United States District Judge




Order – Page 3
